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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                         Filed: May 14, 2021

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ROBERT UHL,                *                                     UNPUBLISHED
                           *
         Petitioner,       *                                     No. 18-1823V
                           *                                     Special Master Gowen
v.                         *
                           *                                     Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Harrison W. Long, Rawls Law Group, Richmond, VA, for Petitioner.
Jennifer L. Reynaud, United States Department of Justice, Washington, DC, for Respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

        On February 11, 2021, Robert Uhl (“Petitioner”) filed a motion for attorneys’ fees and
costs. Motion for Attorney Fees and Costs (“Fees App.”) (ECF No. 45). For the reasons discussed
below, I GRANT Petitioner’s motion for attorneys’ fees and costs and award a total of $50,750.62.

    I.        Procedural History

        On November 28, 2018, Petitioner filed a petition in the National Vaccine Injury
Compensation Program.2 Petitioner alleged that he suffered Guillain-Barré syndrome as a result
of receiving an influenza vaccination on November 13, 2016. See Petition (ECF No. 1). On
December 14, 2020, Petitioner filed a motion to voluntarily dismiss his petition, and on the same
day I issued my decision dismissing the petition for insufficient proof. (ECF No. 40).

1
  I intend to post this Ruling on the United States Court of Federal Claims' website. This means the Ruling will be
available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, I am required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine
Act” or “the Act”). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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        On February 11, 2021, Petitioner filed a motion for final attorneys’ fees. Petitioner requests
compensation in the total amount of $50,750.62, representing $46,067.45 in attorneys’ fees and
$4,683.17 in costs. Fees App. at 2. Pursuant to General Order No. 9, Petitioner warrants he has not
personally incurred any costs in pursuit of this claim. Fees App. Ex. 3. Respondent reacted to the
fees motion on April 30, 2021, stating that “Respondent is satisfied the statutory requirements for
an award of attorneys’ fees and costs are met in this case.” Response at 2. (ECF No. 46). Petitioner
did not file a reply thereafter.

         The matter is now ripe for adjudication.

   II.      Analysis

        Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008). Here, although the petition was eventually dismissed, I do not
doubt that it was filed in a good faith belief that Petitioner’s vaccination caused his GBS.
Additionally, the case had a reasonable basis to proceed for as long as it did and Respondent also
has not challenged the good faith or reasonable basis of the claim. Accordingly, Petitioner is
entitled to a final award of reasonable attorneys’ fees and costs.

         Petitioners “bea[r] the burden of establishing the hours expended, the rates charged, and
the expenses incurred” are reasonable. Wasson v. Sec'y of Health & Human Servs., 24 Cl. Ct. 482,
484 (1993). Adequate proof of the claimed fees and costs should be presented when the motion is
filed. Id. at 484 n. 1. The special master has the discretion to reduce awards sua sponte, independent
of enumerated objections from the respondent. Sabella v. Sec'y of Health & Human Servs., 86 Fed.
Cl. 201, 208–09 (Fed. Cl. 2009); Savin v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313 (Fed.
Cl. 2008), aff'd No. 99–537V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22, 2008).

                a. Attorneys’ Fees

        I have reviewed the rates requested by Petitioner for the work of his counsel, Mr. Harrison
“Whit” Long, Mr. Joseph “Ted” McFadden, and Mr. Glen Sturtevant, and I find the rates requested
herein to be consistent with what they have previously been awarded for their Vaccine Program
work and reasonable in light for the work performed in this case.

        Turning next to review of the submitted billing statement, I find that the overall hours spent
on this matter to be reasonable. The entries are reasonable and accurately describe the work being
performed and the length of time it took to perform each task. Respondent also has not identified
any particular entries as being objectionable. Therefore, Petitioner is entitled to final attorneys’
fees of $46,067.45.

                b. Attorneys’ Costs


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       Like attorneys’ fees, a request for reimbursement of costs must be reasonable. Perreira v.
Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests total
attorneys’ costs in the amount of $4,683.17, representing acquisition of medical records, postage,
and work performed by Petitioner’s medical expert, Dr. M. Eric Gershwin. Petitioner has provided
adequate documentation supporting all of the requested costs, and all appear reasonable in my
experience. Petitioner is therefore entitled to the full amount of costs sought.

      III.     Conclusion

       In accordance with the foregoing, Petitioner’s motion for attorneys’ fees and costs is
GRANTED. I find that Petitioner is entitled to a reimbursement of attorneys’ fees and costs as
follows:

    Attorneys’ Fees Requested                                                     $46,067.45
    (Reduction of Fees)                                                                -
    Total Attorneys’ Fees Awarded                                                 $46,067.45

    Attorneys’ Costs Requested                                                     $4,683.17
    (Reduction of Costs)                                                               -
    Total Attorneys’ Costs Awarded                                                 $4,683.17

    Total Attorneys’ Fees and Costs                                               $50,750.62

       Accordingly, I award a lump sum in the amount of $50,750.62, representing
reimbursement for Petitioner’s attorneys’ fees, in the form of a check payable to Petitioner
and his attorney, Mr. Harrison Long.3

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.4

             IT IS SO ORDERED.




                                                      /s/Thomas L. Gowen
                                                      Thomas L. Gowen
                                                      Special Master

3
  This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all charges by
the attorney against a client, “advanced costs,” and fees for legal services rendered. Furthermore, Section 15(e)(3)
prevents an attorney from charging or collecting fees (including costs) that would be in addition to the amount awarded
herein. See generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. Vaccine
Rule 11(a).

                                                          3
